     Case 2:24-cr-00091-ODW    Document 12-1 Filed 02/21/24     Page 1 of 2 Page ID
                                        #:110


1    DAVID C. WEISS
     Special Counsel
2    LEO J. WISE
     Principal Senior Assistant Special Counsel
3    DEREK E. HINES
     Senior Assistant Special Counsel
4         950 Pennsylvania Avenue NW, Room B-200
          Washington, D.C. 20530
5         Telephone: (771) 217-6091
          E-mail:    LJW@USDOJ.GOV, DEH@USDOJ.GOV
6
     Attorneys for Plaintiff
7    UNITED STATES OF AMERICA

8                             UNITED STATES DISTRICT COURT

9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                   No. 2:24-cr-00091-ODW

11              Plaintiff,                       [PROPOSED] ORDER SEALING CERTAIN
                                                 EXHIBITS TO GOVERNMENT’S
12                   v.                          APPLICATION FOR REVIEW OF
                                                 MAGISTRATE JUDGE’S BAIL ORDER
13   ALEXANDER SMIRNOV,
                                                 (UNDER SEAL)
14              Defendant.

15

16          For good cause shown, IT IS HEREBY ORDERED THAT:
17          Pursuant to Local Criminal Rule 49-1.2(b)(3), exhibits 1, 3, 4,
18   5, 6, 7,10 and 11 to the Government’s Application for Review of
19   Magistrate Judge’s Bail Order, the government’s sealing application,
20   and this order shall be kept under seal.
21

22

23   DATE                                    The Honorable Otis D. Wright, II
                                             UNITED STATES DISTRICT COURT JUDGE
24

25

26

27

28

                                             1
     Case 2:24-cr-00091-ODW   Document 12-1 Filed 02/21/24    Page 2 of 2 Page ID
                                       #:111


1    OR IN CASE OF DENIAL:

2           The government’s application for sealed filing is DENIED.           The

3    sealing application will be filed under seal.           The underlying

4    document(s) shall be returned to the government, without filing of

5    the documents or reflection of the name or nature of the documents on

6    the clerk’s public docket.

7

8

9
     DATE                                     The Honorable Otis D. Wright, II
10                                            UNITED STATES DISTRICT COURT JUDGE

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                          2
